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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
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WEILAND GOLDEN GOODRICH LLP
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Telephone: (714) 966-1000
Facismile: (714) 966-1002




     Individual appearing without attorney
     Attorney for: Wellgen Standard, LLC

                                     UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

In re:
                                                                          CASE NO.:               2:18-bk-15829-NB
PHILIP JAMES LAYFIELD,
                                                                          ADVERSARY NO.:

                                                                          CHAPTER:                7
                                                           Debtor(s).

                                                                                            JOINT STATUS REPORT
                                                                                               [LBR 7016-1(a)(2)]

                                                                          DATE:                 09/18/2018
                                                          Plaintiff(s).
                                                                          TIME:                 11:00 a.m.
                                 vs.                                      COURTROOM:            1545
                                                                          ADDRESS:              255 E. Temple Street
                                                                                                Los Angeles, CA 90012


                                                      Defendant(s).


The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1(a)(2):

A. PLEADINGS/SERVICE:
    1. Have all parties been served with the complaint/counterclaim/cross-claim, etc.                                        Yes              No
       (Claims Documents)?
    2. Have all parties filed and served answers to the Claims Documents?                                                    Yes          No
    3. Have all motions addressed to the Claims Documents been resolved?                                                     Yes          No
    4. Have counsel met and conferred in compliance with LBR 7026-1?                                                         Yes          No




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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    5. If your answer to any of the four preceding questions is anything other than an unqualified “YES,” please
       explain below (or on attached page):
       Service of the summons and involuntary petition was effectuated on August 24, 2018. The deadline for the
       alleged debtor to answer the involuntary petition is September 17, 2018.




B. READINESS FOR TRIAL:

    1.        When will you be ready for trial in this case?
                                     Plaintiff                                                       Defendant
         It will depend on whether the alleged debtor consents
         to the order for relief or files an answer or other
         response.
    2. If your answer to the above is more than 4 months after the summons issued in this case, give reasons for further
       delay.
                                Plaintiff                                     Defendant
         See response to B.1 above.




    3. When do you expect to complete your discovery efforts?
                              Plaintiff                                                              Defendant
       See response to B.1 above.



    4. What additional discovery do you require to prepare for trial?
                               Plaintiff                                                             Defendant
       See response to B.1 above.




C. TRIAL TIME:

    1. What is your estimate of the time required to present your side of the case at trial (including rebuttal stage if
       applicable)?
                               Plaintiff                                         Defendant
         See response to B.1 above.



    2. How many witnesses do you intend to call at trial (including opposing parties)?
                            Plaintiff                                            Defendant
         See response to B.1 above.




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    3. How many exhibits do you anticipate using at trial?
                             Plaintiff                                                              Defendant
       See response to B.1 above.



D. PRETRIAL CONFERENCE:

    A pretrial conference is usually conducted between a week to a month before trial, at which time a pretrial order will
    be signed by the court. [See LBR 7016-1.] If you believe that a pre-trial conference is not necessary or appropriate in
    this case, please so note below, stating your reasons:

                               Plaintiff                                                                 Defendant
     Pretrial conference         is      is not requested                     Pretrial conference         is    is not requested
     Reasons:                                                                 Reasons:
     See response to B.1 above.



                             Plaintiff                                                               Defendant
     Pretrial conference should be set after:                                 Pretrial conference should be set after:
     (date)                                                                   (date)


E. SETTLEMENT:

    1. What is the status of settlement efforts?
        N/A




    2. Has this dispute been formally mediated?                        Yes             No
       If so, when?



    3. Do you want this matter sent to mediation at this time?

                                 Plaintiff                                                               Defendant

                                 Yes           No                                                        Yes           No




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F. FINAL JUDGMENT/ORDER:

     Any party who contests the bankruptcy court’s authority to enter a final judgment and/or order in this adversary
     proceeding must raise its objection below. Failure to select either box below may be deemed consent.

                             Plaintiff                                                                Defendant
          I do consent                                                             I do consent
          I do not consent                                                         I do not consent
      to the bankruptcy court’s entry of a final judgment                      to the bankruptcy court’s entry of a final judgment
      and/or order in this adversary proceeding.                               and/or order in this adversary proceeding.


G.   ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (Use additional page if necessary)




Respectfully submitted,

Date: 09/04/2018                                                                Date:

WEILAND GOLDEN GOODRICH LLP
__________________________________________                                      ___________________________________________
Printed name of law firm                                                        Printed name of law firm


 /s/ Jeffrey I. Golden
__________________________________________                                      ___________________________________________
Signature                                                                       Signature

 Jeffrey I. Golden
__________________________________________                                      ___________________________________________
Printed name                                                                    Printed name

               Wellgen Standard, LLC
Attorney for: ________________________________                                  Attorney for: _________________________________




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  650 Town Center Drive, Suite 600, Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): JOINT STATUS REPORT will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 4, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                  X Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) September 4, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                      Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 4, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


The Honorable Neil Bason, 255 E. Temple Street, Los Angeles, CA 90012


                                                                                  X Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


      September 4, 2018                            Kelly Adele
            Date                                  Printed Name                                                         Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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VIA OVERNIGHT MAIL
Philip Layfield
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Washington, DC 20006

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